.§Jase 8:18-mj-00673-DUTY Document 4 Filed 01/03/19 Page 1 of 2 Page |D #:172

AO 93 (Rev l l.-“l3) Seai'ch and Seizure Warrant (USAO CDCA Rev. 04.-'17}

UNITED STATES DisTRiCT CoURT

for the

Central District of California

In the Matter of the Searcli of

(Briejiy describe the property to be searched or identi_`fj' tlie
person by name and address)

151 South 9th Street, Unit F, La Puente, California

Case No. 811 8-MJ-00673

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SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
Oi" the fOllOWil'lg p€I‘SOH OI‘ pI'Op€I'liy lOCa'[€d lI‘l the C€Iifl'al DiS'[I'iCt Of Callmela (identifv tlie person or describe the property to be searched
and give its location)!

See Attach)nent A

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
d€SCl‘ib€d abOV€, and that SuCh S€aI`Ch Wl]l reveal (identijj) the person or describe the property to be seized)$

See Attachment B
Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (na: to exceed 14 days)
IZ in the daytime 6:00 a.m. to 10:00 p.m. I:I at any time in the day or night because good cause has been established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate .ludge on dug at the time of the return
through a filing with the Clerk's Office.

[:] Pursuant to 18 U.S.C. § 3103a(b), l find that immediate notificatin jay have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this "=rr nt to delay notice to the person who, or whose
pI`Opel'fy, Will be S€al’Ch€d OI' SeiZCd (c/ieck the appropriate bo.\') '

l:] for

Date and time issued: h’§)'|’§ w'¥ d ¢0'|'0‘

   
  

 

 

days (not to exceed 30) [] until, the facts justifying, the lt"};r specific date of

 

Judge 's signature \

City and state: Santa Ana. CA I-Ionorable Douglas F. McCormick

Printed name and title

AUSA: Daniel Ahn X3539

 

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AO 93 (Rev l l/13) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
s:is-Mi-00673 /Oq/;p/p //0@ ¢V~S ge i///i W. /_e,ig,

 

Inventory made in the presence of :

/JQt///i V\/. Léé/ , owner

 

Inventory of the property taken and name of any person(s) seized:

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Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

t 457/9
Date$ //;`//Q !/::,\_,7/!¢/\_/~._/§_`

E\'ecuting officer ’s signature

____<»/_H/J:/ _p¢~/_¢WF/

Printed name and title

 

 

